Case 21-03020-sgj Doc 179-16 Filed 08/08/22                                                           Entered 08/08/22 08:36:41                                      Page 1 of 2


Cc: Gareth Pereira[ pgareth(i beechercarlson.comj: Wade Kenny[wkenny@'caldersoodk)]: Stephen
Leontsin is[ Stephen.LeontsiniscollascrilI.com ]: JS de Jager CSl[jsicsi.kyj: Tom Adaniczakttadarnczak@heechercarl son.com ]: Clayton
Price[ cprice@beechercarl son.com]
To: Casey McDonald [cmcdonald cal derwood.ky]
From: Matt DiOrio[mattdiorio40'gmail.comI
Sent: Thur 6/24/2021 9:23:56 PM Coordinated Universal Time
Subject: Re: Sentinel Expenses for Approval


 [Externalj

This is in order and should be settled. The company indemnified a group of former employees, myself included, a while back and it
relates to our defense with respect to today's hearing that 1 mentioned.

Sent from my iPhone



         On Jun 24, 2021, at 4:19 PM, Casey McDonald <cmcdonald@calderwood.ky> wrote:




         Thanks Gareth


         I can go in and approve, but as Wade and I don't have any visibility into the legal bill, I'd appreciate Matt
         confirming it's all in order and should be settled. And as it's for US counsel, am I right in thinking that it is
         coming out of the prefunded risk mitigation balance? Or is there any additional background we could get on
         the expense?


         Best regards,

                      Casey McDonald I       Independent Director

                                                   /c:     345324 2522


                      45 Floor, Century Yard, Cricket Square, George Toxn

<imae002.j12g> P.O. Box 31162, Grand Cayman, KY1-1205 Cayman Islands


                      <image003 1p>




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         nuaranteed to he error free as they can be intercepted a,oenoed or Contain viruses Anyone who Common:Cates with us 53 c-rca;' is neefflea to nave accepted




        From: Gareth Pereira <pgareth @ beechercarlson.com >
        Sent: Thursday, 24 June 202111:38 AM
        To: Casey McDonald <cmcdonald@calderwood.ky>
        Cc: Wade Kenny <wkenny@calderwood.ky>; Stephen Leontsinis <Stephen.Leontsinis@collascrill.com >; 'Matt
        DiOrio' <mattdiorio40@gmail.com >; JS de Jager CSI <js@csi.ky>; Tom Adamczak
        <tadamczak@beechercarlson.com>; Clayton Price <cprice@beechercarlson.com >
        Subject: RE: Sentinel Expenses for Approval
                                                                                                                                                                                    EXHIBIT


        Good morning Casey
                                                                                                                                                                                    90
        Following on from last week, please can you provide your approval through email and also release the
        following payments that have been set up in CIBC for Sentinel:
        •      Ross & Smith Legal expenses $75,854.90
                                        -                        -



        •      03 Beecher Carlson Captive Management Fees —$15,000.00
                                                                                                                                                        BC SEN0000074288
                                                                                                                                                                   11/03/21
                                                                                                                                                         Highly Confidential
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          Risk International      -   Actuarial consulting expenses         -   $7,500.00 (Invoice from last week)


 Going forward we will rotate payment approvals and release requests between the 3 directors.


 Many thanks
 Gareth


 From: Gareth Pereira
 Sent: Wednesday, June 16, 2021 9:04 AM
 To: cmcdonald@calderwood.ky
 Cc: wkenny(calderwood.ky; Stephen Leontsinis <Stephen.Leontsinis@collascrill.com >; 'Matt DiOrio'
 <mattdiorio40lgmail.corn>; Tom Adamczak <tadamczakbeechercarlson.corn>; Clayton Price
 <c price beech e rca r son corn>
 Subject: Sentinel Expenses for Approval



 Hi Casey


 Hope all is well


 Please can you provide your approval through email and also release the following payments that have been
 set up in CIBC for Sentinel:


          CIMA extension of audit filing —$617.26 (Includes $7.50 bank fee)
                  -


          Risk International Actuarial consulting expenses —$7,500.00
                                  -




 Let me know if there are any questions


 Many thanks
 Gareth


 Gareth Pereira
 Account Manager
 pgarethbeechercahson corn
 T: 404.293.1709 I M: 345.923.1726
 Beecher Carlson Cayman, Ltd.
 P.O. Box 10193 1 KY1-1002
 Grand Cayman I Cayman Islands


 <image004.png>




 "Insurance cannot he bound, altered, or cancelled via email. Coverage confirmation must he communicated through a licensed Beecher
 representative."


 "Beecher Carlson deems receipt of all electronic transmissions, including delivery of insurance policy documents, submitted by an authorized
 representative of our company to you as an acceptable node of communication in conducting business transactions as electronic transmissions are
 permitted by law."


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                                                                                                                                      11/03/21
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